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  8                                  UNITED STATES DISTRICT COURT
  9                                SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                      )    Case No. llcr4963-WQH
                                                      )
 11                            Plaintiff,             )    AMENDED ORDER OF
                                                      )    CRIMINAL FORFEITURE
 12            v.                                     )
                                                      )
 13    MASIEH JANAN (1),                              )
                                                      )
 14                            Defendant.             )
       -------------------------)
 15
 16            On August 30, 2012, this Court entered its Preliminary Order of Criminal Forfeiture, which

 17    condemned and forfeited to the United States all right, title and interest of MASIEH JANAN (1)

 18    in the property listed in the Forfeiture Allegations of the Indictment, namely, One 2007 BMW

 19    750Li, CA License No. 6JFR023, VIN WBAHN83557DT71584 ("subject vehicle").

 20            For thirty (30) consecutive days ending on October 5,2012, the United States published on

 21    the Government's forfeiture website, www.forfeiture.gov, notice of the Court's Order and the

 22    United States' intent to dispose of the property in such manner as the Attorney General may direct,

 23    pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for Admiralty or

 24    Maritime Claims and Asset Forfeiture Actions, and further notifying all third parties of their right

 25    to petition the Court within thirty (30) days of the final publication for a hearing to adjudicate the

 26    validity of their alleged legal interest in the property.

 27    /I

 28    /I
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  1             On September 10,2012, Notice of Order ofForfeiture was sent by certified mail as follows:
  2      Name and Address                      Article No.                    Result
  3      Leslie Ruelas (2)                     7010 2780 0000 2237 9817       Signed for as received on
         do James J. Warner                                                   9/11112.
  4      Attorney at Law
         3233 Third A venue
 5       San Diego CA 92103

  6      Josiah Jaime Martinez (3)             7010 2780 0000 2237 9824       Not delivered by USPS.
         do Benjamin P. Lechman                                               Attorney Lechman was con­
  7      Attorney at Law                                                      tacted several times with no
         964 Fifth Avenue, Suite 214                                          response to date; his client
  8      San Diego CA 92101                                                   appears to have no interest
                                                                              in contesting the forfeiture.
  9
         Erik Alexander Rios (4)               7010 2780 0000 2237 9831       Signed for as received on
 10      do Lisa Kay Baughman, Esq.                                           9111112.
         Baughman & Associates
 11      707 Broadway, Suite 1150
         San Diego CA 92101
 12
         Benjamin Joseph Bielasz (5)           70102780000022379848           Signed for as received on
 13      clo William Lewis Wolfe                                              9/11112.
         Attorney at Law
 14      950 Vista Village Drive
         Vista CA 92084
 15
         Luis Antonio Chiroque                 7010 2780 0000 22379855        Returned by USPS marked
 16      1337 Indian Creek Place                                              "Unclaimed" on 10/20/12;
         Chula Vista CA 91915-2260                                            see paragraph 5 below.
 17
         Edith Chiroque                        7010 2780 0000 22379862        Returned by USPS marked
 18      1337 Indian Creek Place                                              "Unclaimed" on 10/20/12;
         Chula Vista CA 91915-2260                                            see paragraph 5 below.
 19
         C T Corporation System                7010 2780 0000 2237 9879       Signed for as received on
 20      Agent for Service of Process for                                     9/12/12.
         JP Morgan Chase Bank, N.A.
 21      2390 East Camelback Road
         Phoenix AZ 85016
 22

 23             IP Morgan Chase Bank has submitted paperwork satisfying the United States as to its valid

 24      interest in the subject vehicle. The bank's claim to the vehicle is based upon a contract with the

 25 II   owner and Certificate of Title from the State of California. The United States has recognized the

 26 II   validity and priority of the interest of IP Morgan Chase Bank in the subject vehicle.

 27      /I

 28      /I

                                                         2                                 11cr4963
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  1 II           After direct notice was sent to Luis and Edith Chiroque and returned by the U.S. Postal
  2      Service, it was learned that the Chiroques were represented by Attorney Maxine 1. Dobro. She

  3      advised that her clients had an interest in the subject vehicle, and it was mutually decided to request

  4 II   the Court's authorization to return the vehicle to Luis Chiroque, who is the registered owner,

  5      through his attorney, Maxine 1. Dobro.

  6              Thirty (30) days have passed following the final date of notice by publication and notice

  7      by certified mail, and no third party except Luis Chiroque, Edith Chiroque and JP Morgan Chase

  8      Bank has made a claim to or declared any interest in the forfeited property described above.

  9 II           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that, as a result

 10      of the failure of any third party to come forward or file a petition for relief from forfeiture as
 11      provided by law, all right, title and interest of MASIEH JANAN (1) and any and all third parties

 12      except Luis Chiroque, Edith Chiroque and JP Morgan Chase Bank in the following property are

 13 II   hereby condemned, forfeited and vested in the United States of America:

 14 II                   One 2007 BMW 750Li, CA License No. 6JFR023,
                         VIN WBAHN83557DT71584 (subject vehicle);
 15
 16 II           IT IS FURTHER ORDERED that the United States shall return the subject vehicle to its

 17 II   registered owner Luis Chiroque, through his attorney, Maxine 1. Dobro;

 18 II           IT IS FURTHER ORDERED that the Court recognizes the valid interest of lienholder

 19 II   JP Morgan Chase Bank;

 20 II           IT IS FURTHER ORDERED that Luis Chiroque or his attorney must retrieve the subject

 21 II   vehicle from the U.S. Marshals Service within seven days of the date of this Order, or the subject

 22 II   vehicle will be returned instead to lienholder JP Morgan Chase Bank;

 23 II           IT IS FURTHER ORDERED that any and all interest of the following persons and entities

 24 II   are specifically terminated as to the above-referenced property:

 25 II                           Leslie Ruelas (2)
                                 Josiah Jaime Martinez (3)
 26 II                           Erik Alexander Rios (4)
                                 Benjamin Joseph Bielasz (5); and
 27

 28 II   II

                                                            3                                   llcr4963
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  1           IT IS FURTHER ORDERED that costs incurred by the United States Marshals Service,
 2     the Drug Enforcement Administration and any other governmental agencies which were incident

 3     to the seizure, custody and storage of the subject vehicle shall be borne by the United States.
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